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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JAMES EVERETT SHELTON                         CIVIL ACTION

      v.
PARAMOUNT HOLDING COMPANY,                                              FILED
LLC, d/b/a Paramount Payment Systems :        NO.   18-2072
                                                                        JUN 20 2018
                                                                      KATE BARKMA.t.!. Clerk
                                       ORDER                        By            Dep. Clerk

      NOW, this 20th day of June, 2018, this action having been dismissed, the pretrial

conference scheduled for June 27, 2018 is CANCELLED.
